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CLERK, U.S. DISTRICT COURT
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CENTRA AL DB
at
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA, Case No. 8:19-cr-00043-JLS
Plaintiff, ) ORDER OF DETENTION AFTER
HEARING [Fed. R. Crim. P. 32.1(a)(6);18
z ) U.S.C. § 3143(a)]

. )
GUSTAVO MONTANO,
)
Defendant. )
)

The defendant having been arrested in this District pursuant to a warrant issued by

the United States District Court for the Central District of California for alleged violations

of the terms and conditions of supervision; and

The Court having conducted a detention hearing pursuant to Federal Rule of
Criminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a),

The Court finds that:

A. (X) The defendant has not met defendant’s burden of establishing by clear and
convincing evidence that he is not likely to flee if released under 18 U.S.C. § 3142(b)
or (c). This finding is based on: nature of current allegations, including allegations of illegal
drug possession, prior violations, history of substance abuse; criminal history, including several

prior violations of probation/ parole

 
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and
B. (X) The defendant has not met defendant’s burden of establishing by clear and
convincing evidence that he is not likely to pose a danger to the safety of any other
person or the community if released under 18 U.S.C. § 3142(b) or (c). This finding is
based on: nature of current allegations, including allegations of illegal drug possession, prior

violations, history of substance abuse; criminal history, including several several prior violations of

probation/ parole

IT THEREFORE IS ORDERED that the defendant be detained pending further

revocation proceedings.

Dated: 10 “15-2 /

 

  

N D. EARLY
nited States Magistrate Judge

  

 
